     Case: 1:20-cv-07807 Document #: 58 Filed: 07/11/22 Page 1 of 7 PageID #:435




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


 MARCI MARIE WEBBER,                               )
                                                   )
                   Plaintiff,                      )   No. 1:20-cv-07807
                                                   )
             v.                                    )   The Hon. Charles R. Norgle, Sr.
                                                   )
 STATE OF ILLINOIS, et al.,                        )
                                                   )
                   Defendants.                     )

             MOTION FOR LEAVE TO WITHDRAW AS COUNSEL AND
        FOR EXTENSION OF TIME TO FILE SECOND AMENDED COMPLAINT

         Brian R. Michalek and Thomas A. Laser, of the law firm Saul Ewing Arnstein & Lehr LLP,

current Court-appointed counsel for Plaintiff, Marci Marie Webber (“Ms. Webber”), pursuant to

Local Rule 83.17, move for leave to withdraw their appearances as counsel in this matter and for

an extension of time for Ms. Webber to file her second amended complaint, and state as follows:

         1.       On August 26, 2021, this Court appointed Mr. Michalek as counsel for Ms. Webber

pursuant to Local Rules 83.11(h) and 83.37. (Dkt. #30).

         2.       On September 30, 2021, Mr. Michalek and his associate, Thomas A. Laser, filed

their appearances on behalf of Ms. Webber. (Dkt. ##31, 32).

         3.       Mr. Michalek and Mr. Laser have served as counsel for Ms. Webber in this matter

since that time.

         4.       Over the course of their representation of Ms. Webber in this matter, Mr. Michalek

and Mr. Laser have consulted with Ms. Webber regarding the facts of her case, researched the

viability of Ms. Webber’s potential claims, drafted and filed an amended complaint (Dkt. #42),

and conducted a variety of other tasks in furtherance of their representation of Ms. Webber.




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40239234.1
     Case: 1:20-cv-07807 Document #: 58 Filed: 07/11/22 Page 2 of 7 PageID #:436




         5.     At this time, Mr. Michalek and Mr. Laser believe that they have reached an impasse

in their representation of Ms. Webber, and respectfully seek leave of Court to withdraw their

appearances in this matter.

         6.     Specifically, Mr. Michalek and Mr. Laser have received numerous voice messages

from Ms. Webber insisting on courses of action that Mr. Michalek and Mr. Laser do not believe

have a basis in law or fact.

         7.     Mr. Michalek and Mr. Laser have provided written notice of the unviability of these

claims to Ms. Webber, but she continues to insist.

         8.     Additionally, Ms. Webber’s voice messages have become increasingly antagonistic

toward Mr. Michalek and Mr. Laser.

         9.     Local Rule 83.38 of the U.S. District Court for the Northern District of Illinois –

Eastern Division requires that an appointed attorney promptly move to withdraw where either:

         (3) Some personal incompatibility or a substantial disagreement on litigation strategy exists
         between counsel and the party. [or]
         ...
         (5) In counsel’s opinion, the party is proceeding for purpose of harassment or malicious
         injury, or the party’s claims or defenses are not warranted under existing law and cannot
         be supported by good faith argument for extension, modification, or reversal of existing
         law.

         10.    Mr. Michalek and Mr. Laser believe that such circumstances are present here and

that they can no longer continue with their representation of Ms. Webber.

         11.    Local Rule 83.17 provides that:

         An attorney who has filed an appearance form pursuant to LR 83.16 is the attorney of
         record for the party represented for all purposes incident to the proceeding in which the
         appearance was filed. The attorney of record may not withdraw, nor may any other attorney
         file an appearance on behalf of the same party or as a substitute for the attorney of record,
         without first obtaining leave of court, except that substitutions or additions may be made
         without motion where both counsel are of the same firm. Where the appearance indicates
         that pursuant to these rules a member of the trial bar is acting as a supervisor or is
         accompanying a member of the general bar, the trial bar member included in the


                                                  2
40239234.1
     Case: 1:20-cv-07807 Document #: 58 Filed: 07/11/22 Page 3 of 7 PageID #:437




         appearance may not withdraw, nor may another member be added or substituted, without
         first obtaining leave of court. Where an attorney withdraws from representing a party in a
         case and no other attorney has an active appearance on the docket for that party, the form
         Notification of Party Contact Information must be electronically filed as an attachment to
         the motion to withdraw.
         12.    Mr. Michalek and Mr. Laser have sent written notice on their intent to withdraw to

Ms. Webber, and she has confirmed receipt of same by voice message and electronic mail.

         13.    A copy of this Court’s Notification of Party Contact Information Form (per Local

Rule 83.17) is attached hereto as Exhibit A setting forth Ms. Webber’s contact information to the

best of Mr. Michalek and Mr. Laser’s knowledge and belief.

         14.    The Court recently granted Ms. Webber until and including July 19, 2022 to file a

second amended complaint in this matter. (Dkt. #57).

         15.    Because Ms. Webber will need time to appear and/or obtain new counsel, Saul

Ewing Arnstein & Lehr LLP requests that Ms. Webber have 21 days to appear through new counsel

or choose self-representment, and that the July 19, 2022 pleading deadline be stayed and/or entered

and continued pending Ms. Webber’s representation.

         16.    Thomas A. Laser contacted counsel for Defendants on July 11, 2022, and counsel

does not object to the request for extension.

         WHEREFORE, Brian R. Michalek and Thomas A. Laser of Saul Ewing Arnstein & Lehr

LLP, request leave to withdraw as counsel for Plaintiff, Marci Marie Webber, and for an extension

of time for Ms. Webber to file her second amended complaint.




                                                 3
40239234.1
     Case: 1:20-cv-07807 Document #: 58 Filed: 07/11/22 Page 4 of 7 PageID #:438




                                       Respectfully submitted,

                                       Marci Marie Webber,

                                       /s/ Brian R. Michalek
                                       Brian R. Michalek

                                       One of Her Attorneys

Brian R. Michalek
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                                          4
40239234.1
     Case: 1:20-cv-07807 Document #: 58 Filed: 07/11/22 Page 5 of 7 PageID #:439




                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing document was filed through the ECF
system which will cause the foregoing document to be served on all counsel of record.

Dated: July 11, 2022                                 By: /s/ Thomas A. Laser
                                                             Thomas A. Laser




                                          5
40239234.1
Case: 1:20-cv-07807 Document #: 58 Filed: 07/11/22 Page 6 of 7 PageID #:440




                   EXHIBIT A
    Case: 1:20-cv-07807 Document #: 58 Filed: 07/11/22 Page 7 of 7 PageID #:441




06/12/15
                                     United States District Court
                                     Northern District of Illinois

                             Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket. A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted.



       Case Number: 20-cv-7807

       Case Title: Webber v. Illinois et al.

       Judge: Norgle



       Name of Attorney submitting the motion to withdraw:
        Brian R. Michalek and Thomas A. Laser; Saul Ewing Arnstein & Lehr LLP

       Name of Client:
        Marci Marie Webber


       Mailing address of Client: 4200 N. Oak Park Avenue

       City: Chicago                                   State: Illinois

       Zip: 60634                          Telephone Number: 773-794-4038


       I attest that the above information is true and correct to the best of my
       knowledge.

Signed: ________________________________________________________

Date: July 6, 2022
